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                    ATTACHMENT
                              A
                  Redacted Docket Materials
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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                              District of Columbia

              In the Matter of the Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)                                       Case No. 20-sc-3086
 INFORMATION ASSOCIATED WITH THREE ACCOUNTS )
STORED AT PREMISES CONTROLLED BY INSTAGRAM, )
LLC PURSUANT TO 18 U.S.C. 2703 FOR INVESTIGATION)
     OF VIOLATION OF 18 U.S.C. 1591 AND 1952
   APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  See Attachment A incorporated herein and included as part of this Application for a Search Warrant.

located in the              Northern              District of                 California                _ , there is now concealed (identify the
person or describe the property to be seized):
   See Attachment B incorporated herein and included as part of the attached Affidavit.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ff evidence of a crime;
                 Iff contraband, fruits of crime, or other items illegally possessed;
                 91 property designed for use, intended for use, or used in committing a crime;
                 71 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                                   Offense Description
        18 U.S.C. §1591; 18 U.S.C.                Sex Trafficking of Children; and Interstate Aid of Racketeering Enterprises
        §1952

          The application is based on these facts:
                See Attached Affidavit in Support of Search Warrant.


               Continued on the attached sheet.
           71 Delayed notice of        days (give exact ending d
              18 U.S.C. § 3103a, the basis of which is set fort




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                           telephone                                (specify reliable electronic means).


Date:            11/23/2020
                                                                                                           Judge's signature

City and state: Washington, DC                                                         Robin M. Meriweather U.S. Magistrate Judge
                                                                                                       Printed name and title
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AO 93C (�����) �������������������������������������������������������               � Original                � Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 20-sc-3086
     INFORMATION ASSOCIATED WITH THREE ACCOUNTS STORED AT
   PREMISES CONTROLLED BY INSTAGRAM, LLC PURSUANT TO 18 U.S.C.              )
    2703 FOR INVESTIGATION OF VIOLATION OF 18 U.S.C. 1591 AND 1952          )
                                                                            )

                 �������������������������������������������������������
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search�������������
of the following person or property located in the�                        Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A incorporated herein and included as part of this Application for a Search Warrant.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      See Attachment B incorporated herein and included as part of the attached Affidavit.




        YOU ARE COMMANDED to execute this warrant on or before                December 7, 2020         (not to exceed 14 days)
      � in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               � at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Robin M. Meriweather                   .
                                                                                                  (United States Magistrate Judge)

     � Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     � for         days (not to exceed 30) � until, the facts justifying, the later specific date of                                   .


Date and time issued:          11/23/2020
                                                                                                          Judge’s signature

City and state:                  Washington, DC                                         Robin M. Meriweather U.S. Magistrate Judge
                                                                                                        Printed name and title
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 20-sc-3086
Inventory made in the presence of :

Inventory of the property taken and name��� of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                    ATTACHMENT A
                                  Property to Be Searched

       This warrant applies to information which is associated with the Instagram, LLC

("PROVIDER" or "Instagram") account(s) identified as

                    that is stored at premises owned, maintained, controlled, or operated by

Instagram, LLC, a company owned by Facebook, Inc., a company that accepts service of legal

process at 1601 Willow Road, Menlo Park, California.
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                                      ATTACHMENT B

                       Particular Things to be Seized and Procedures
                           to Facilitate Execution of the Warrant

   I.      Information to be disclosed by Instagram, LLC (“PROVIDER”) to facilitate
           execution of the warrant

        To the extent that the information described in Attachment A is within the possession,

custody, or control of PROVIDER, including any records that have been deleted but are still

available to PROVIDER, or have been preserved pursuant to a request made under 18 U.S.C.

§ 2703(f), PROVIDER is required to disclose the following information to the government

corresponding to each account or identifier (“Account”) listed in Attachment A:

        a. For the time period January 16, 2015 to present: The contents of any available

           messages or other communication associated with the Account (including, but not

           limited to, messages, attachments, draft messages, posts, chats, video calling history,

           “friend” requests, discussions, recordings, images, or communications of any kind sent

           to and from the Account, including stored or preserved copies thereof) and related

           transactional records for all PROVIDER services used by an Account subscriber/user,

           including the source and destination addresses and all Internet Protocol (“IP”)

           addresses associated with each message or other communication, the date and time at

           which each message or other communication was sent, and the size and length of each

           message or other communication;

        b. For the time period January 16, 2015 to present: All photos and videos uploaded,

           created, or shared by the Account (including any comments made related to such photos

           and videos) and all photos or videos uploaded in which the Account has been “tagged,”




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      including Exchangeable Image File (“EXIF”) data and any other metadata associated

      with those photos and videos;

   c. Basic subscriber records and login history, including all records or other information

      regarding the identification of the Account, to include

                i. All identity and contact information, such as full name, physical address,
                   telephone numbers, birthdate, security questions and passwords, and other
                   personal identifying information,
               ii. records of session times and durations,
             iii. the date on which the Account was created,
              iv. the length of service,
               v. types of services utilized by the Account,
              vi. the IP address used to register the Account and log-in IP addresses
                   associated with session times and dates,
             vii. account status,
            viii. alternative e-mail addresses provided during registration,
              ix. all past and current usernames associates with the account,
               x. methods of connecting,
              xi. log files,
             xii. means and source of payment (including any credit or bank account
                   number), and
            xiii. any account(s) linked by cookies;

   d. For the time period January 16, 2015 to present: All records or other information

      related to the Account, including address books, contact information and any “friend,”

      “follower,” and/or “following” lists; calendar data and files; profile information;

      groups and networks of which the Account is a member; future and past event postings;

      rejected “friend” requests and blocked users; status updates (including relationship

      status updates); comments; gifts; “pokes”; “tags”; the account’s usage of the “like”

      feature, including all posts and any webpages and content that the user has “liked”;

      searches performed by the Account; and privacy settings;

   e. For the time period January 16, 2015 to present: All location information associated

      with the account and/or any content posted therein, including geotags;



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   f. For the time period January 16, 2015 to present: All records pertaining to

        communications between PROVIDER and any person regarding the Account,

        including contacts with support services and records of actions taken;

   g. All records pertaining to devices associated with the Account and software used to

        create and access the Account, including device serial numbers, instrument numbers,

        model types/numbers, International Mobile Equipment Identities (“IMEI”), Mobile

        Equipment Identifiers (“MEID”), Global Unique Identifiers (“GUID”), Electronic

        Serial Numbers (“ESN”), Android Device IDs, phone numbers, Media Access Control

        (“MAC”) addresses, operating system information, browser information, mobile

        network information, information regarding cookies and similar technologies, and any

        other unique identifiers that would assist in identifying any such device(s), including

        unique application numbers and push notification tokens associated with the Account;

   h. All information held by PROVIDER related to the location and location history of

        the user(s) of the Account, including geographic locations associated with the

        Account (including those collected for non-PROVIDER based applications), IP

        addresses, Global Positioning System (“GPS”) information, and information pertaining

        to nearby devices, Wi-Fi access points, and cell towers; and

   i.   Information about any complaint, alert, or other indication of malware, fraud, or terms

        of service violation related to the Account or associated user(s), including any

        memoranda, correspondence, investigation files, or records of meetings or discussions

        about the Account or associated user(s) (but not including confidential communications

        with legal counsel).




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       Within 14 days of the issuance of this warrant, PROVIDER shall deliver the information

set forth above via United States mail, courier, or e-mail to the following:




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   II.      Information to be seized by the government

         All information described above in Section I that constitutes fruits, contraband, evidence

and instrumentalities of violations of 18 U.S.C. 1591 and 1952 as described in the affidavit

submitted in support of this Warrant, including, for each Account, information pertaining to the

following matters:

            (a) Information that constitutes evidence of the identification or location of the user(s)

                of the Account;

            (b) Information that constitutes evidence concerning persons who either (i)

                collaborated, conspired, or assisted (knowingly or unknowingly) the commission

                of the criminal activity under investigation; or (ii) communicated with the Account

                about matters relating to the criminal activity under investigation, including records

                that help reveal their whereabouts;

            (c) Information that constitutes evidence indicating the Account user’s state of mind,

                e.g., intent, absence of mistake, or evidence indicating preparation or planning,

                related to the criminal activity under investigation;

            (d) Information that constitutes evidence concerning how and when the Account was

                accessed or used, to determine the geographic and chronological context of account

                access, use, and events relating to the crime under investigation and to the Account

                user;

            (e) Information that constitutes evidence concerning the travel in interstate and uses a

                facility in interstate commerce, with the intent to distribute the proceeds of

                prostitution enterprise and the promotion, management, establishment, and

                carrying on of prostitution enterprise and sex trafficking of children.



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       (f) Information that constitutes evidence concerning the posting of videos, pictures,

          and comments with the intent to promote, manage, establish, carry on of a

          prostitution enterprise and sex trafficking of children.

       (g) Information that constitutes evidence concerning the direct messages, to include

          videos and pictures, between identified and unidentified targets with the intent to

          promote, manage, establish, and carry on of a prostitution enterprise and sex

          trafficking of children.




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   III.      Government procedures for warrant execution

          The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

          Law enforcement personnel will then seal any information from the PROVIDER that does

not fall within the scope of Section II and will not further review the information absent an order

of the Court. Such sealed information may include retaining a digital copy of all information

received pursuant to the warrant to be used for authentication at trial, as needed.




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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by _________________________________
(“PROVIDER”), and my title is ____________________________________________________.
I am a custodian of records for PROVIDER, and I am qualified to authenticate the records attached
hereto because I am familiar with how the records were created, managed, stored, and retrieved. I
state that the records attached hereto are true duplicates of the original records in the custody of
PROVIDER. The attached records consist of:

        ________________________________________________________________________
        [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]

        I further state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of PROVIDER, and they were made by PROVIDER as a regular practice; and

      b.      such records were generated by PROVIDER’s electronic process or system that
produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of PROVIDER in a manner to ensure that they are true duplicates of the
original records; and

                2.     the process or system is regularly verified by PROVIDER, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                 Signature
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
THREE ACCOUNTS STORED AT             SC. No. 20-sc-3086
PREMISES CONTROLLED BY
INSTAGRAM, LLC PURSUANT TO 18        Filed Under Seal
U.S.C. 2703 FOR INVESTIGATION OF
VIOLATION OF 18 U.S.C. 1591 AND 1952

Reference:     USAO Ref. #               ; Subject Account(s):



                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

                                                                        being first duly sworn,

hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for

information which is associated with three account[s] — that is,

                                          (the "Target Accounts") — which is stored at premises

controlled by Instagram, LLC ("PROVIDER" or "Instagram"), a social networking company and

an electronic communications services provider and/or remote computing services provider owned

by Facebook, Inc. and which is headquartered at/ which accepts service at 1601 Willow Road

Menlo Park, California, 94025. The information to be searched is described in the following

paragraphs and in Attachment A. This affidavit is made in support of an application for a search

warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require PROVIDER to

disclose to the government copies of the information (including the content of communications)

further described in Section I of Attachment B. Upon receipt of the information described in
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Section I of Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B, using the procedures described in Section III of

Attachment B.




       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       4.       Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S. Code § 1591

(Sex Trafficking of Children) and 1952 (Interstate Aid of Racketeering Enterprises), among others,

have been committed by                                     ,   AND OTHER UNIDENTIFIED

INDIVIDUALS. There is also probable cause to search the information described in Attachment

A for evidence, instrumentalities, contraband, or fruits of these crimes further described in

Attachment B.



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                                           JURISDICTION

        5.      This Court has jurisdiction to issue the requested warrant because it is a "court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is "a district court of the United States . . . that — has jurisdiction

over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

DC. See 18 U.S.C. § 3237.

                                        PROBABLE CAUSE




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                               was provided an address of '                 In a search for the

                                       located was in the

                                  and found that

     was

       , appeared to provide access to               was that located

       14.     On May 26, 2020, the Metropolitan Police Department of the District of

           had executed a search for                                                    in

reference to                      In review of the photographs and body-worn camera footage of


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the search warrant, it appeared to match the location

             Areas that appear to match are as follows:




       15.     On August 1, 2020, at approximately 0000 hours,

Exploitation and Human Trafficking Task Force conducted

                              Loud music could be heard coming from the residence. The blinds




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       •       On                   a search warrant for

                    was issued by Superior Court for the District of Columbia. On

                                     the search warrant for

                    was executed by FBI Washington Field Office SWAT, MPD/FBI Child

Exploitation and Human Trafficking Task Force. The inside of the premises matched the location




       19.                  was located inside the premises and was interviewed.

stated that he has "birthday parties" at the location but denied he was continually promoting



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                                           denied that there was "V.I.P." and that anyone engaged

in commercial sex acts at the location.                 denied that he had social media accounts,

even when presented with the Instagram account                                            ended the

interview and was free to leave.

       20. In the header of Instagram account                         , it lists

                                   and a link to the Instagram account                       Instagram

account                 has a listed header of                                                    and

both accounts has the same              logo. Instagram account                    has many of the same

posted images and videos as Instagram account                            along with numerous

pictures of             . The Instagram accounts                   and                       both posted

numerous                                           under the tag                               Listed in

these advertisements is a link to the                                              For example, on

September 26, 2020, Instagram account                       posted an advertisement for ``

with                                                The advertisement had the listed message,




       21.     The Instagram account                           has a listed header of '



                      The Instagram account                          has numerous posts containing

advertisements for                         and o




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       22.     On June 24, 2020, PROVIDER was served with a preservation letter under 18

U.S.C. § 2703(t) related to                     and                 On June 29, 2020, PROVIDER

was served with a preservation letter under 18 U.S.C. § 2703(f) related to

               BACKGROUND CONCERNING PROVIDER'S ACCOUNTS

       23.     PROVIDER (that is, Instagram) is the provider of the internet-based Target

Accounts identified above.

       24.     From a review of publicly available information provided by Instagram about its

service, including Instagram's "Privacy Policy," discussions with other members of law

enforcement, and in my training and experience, I am aware of the following about Instagram and

about the information collected and retained by Instagram.

       25.     Instagram owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.instagram.com. Instagram allows its users to create their

own profile pages, which can include a short biography, a photo of themselves, and other

information. Users can access Instagram through the Instagram website or by using a special

electronic application ("app") created by the company that allows users to access the service

through a mobile device.

       26.     Instagram permits users to post photos to their profiles on Instagram and otherwise

share photos with others on Instagram, as well as certain other social-media services, including

Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user can add to

the photo: a caption; various "tags" that can be used to search for the photo (e.g., a user made add

the tag #vw so that people interested in Volkswagen vehicles can search for and fmd the photo);

location information; and other information. A user can also apply a variety of "filters" or other

visual effects that modify the look of the posted photos. In addition, Instagram allows users to



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make comments on posted photos, including photos that the user posts or photos posted by other

users of Instagram. Users can also “like” photos.

       27.     Upon creating an Instagram account, an Instagram user must create a unique

Instagram username and an account password. This information is collected and maintained by

Instagram.

       28.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user’s full name, e-mail addresses, and phone numbers, as well

as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information. However, Instagram does not verify

the information provided.

       29.     Instagram allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Instagram may

come from either contact lists maintained by the user, other third-party social media websites and

information, or searches conducted by the user on Instagram profiles. Instagram collects and

maintains this information.

       30.     Instagram also allows users to “follow” another user, which means that they receive

updates about posts made by the other user. Users may also “unfollow” users, that is, stop

following them or block the, which prevents the blocked user from following that user.

       31.     Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.



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        32.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user’s feed, search

history, or profile.

        33.     Users on Instagram may also search Instagram for other users or particular types of

photos or other content.

        34.     For each user, Instagram also collects and retains information, called “log file”

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram’s servers automatically record is

the particular web requests, any Internet Protocol (“IP”) address associated with the request, type

of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and times

of access, and other information.

        35.     Instagram also collects and maintains “cookies,” which are small text files

containing a string of numbers that are placed on a user’s computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example, Instagram

uses cookies to help users navigate between pages efficiently, to remember preferences, and to

ensure advertisements are relevant to a user’s interests.

        36.     Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record “device identifiers,” which includes data files and

other information that may identify the particular electronic device that was used to access

Instagram.

        37.     Instagram also collects other data associated with user content. For example,

Instagram collects any “hashtags” associated with user content (i.e., keywords used), “geotags”




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that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

       38.     Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

       39.     Subscribers to Instagram may access their accounts on servers maintained and/or

owned by Instagram from any computer connected to the Internet located anywhere in the world.

       40.     Instagram maintains electronic records pertaining to the individuals and companies

for which it maintains subscriber accounts. These records include account access information, e-

mail transaction information, and account application information. Any message that is sent to

Instagram subscribers is stored in the subscriber’s “mail box” on Instagram servers until the

subscriber deletes the message or the subscriber’s mailbox exceeds the storage limits preset by

Instagram. If the message is not deleted by the subscriber, the account is below the maximum

limit, and the subscriber accesses the account periodically, that message can remain on Instagram

servers indefinitely.

       41.     When the subscriber sends a message, it is initiated at the user’s computer,

transferred via the Internet to Instagram’s servers, and then transmitted to its end destination.

Instagram users have the option of saving a copy of the message sent. Unless the sender of the e-

mail specifically deletes the message from the Instagram server, the e-mail can remain on the

system indefinitely. The sender can delete the stored message, thereby eliminating it from the e-

mail box maintained at Instagram, but that message will remain in the recipient’s message box

unless the recipient deletes it as well or unless the recipient’s account is subject to account size

limitations.




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       42.     An Instagram subscriber can store files, including e-mails and image files, on

servers maintained and/or owned by Instagram. E-mails and image files stored on an Instagram

server by a subscriber may not necessarily be located in the subscriber’s home computer. The

subscriber may store messages and/or other files on the Instagram server for which there is

insufficient storage space in the subscriber’s computer and/or which he/she does not wish to

maintain in the computer in his/her residence. A search of the files in the computer in the

subscriber’s residence will not necessarily uncover the files that the subscriber has stored on the

Instagram server.

       43.     As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, an

Instagram user’s account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This “user

attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date.

       44.     By determining the physical location associated with the logged IP addresses,

investigators can understand the chronological and geographic context of the account access and



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use relating to the crime under investigation. Such information allows investigators to understand

the geographic and chronological context of Instagram access, use, and events relating to the crime

under investigation. Additionally, Instagram builds geo-location into some of its services. Geo-

location allows, for example, users to “tag” their location in posts and Instagram “friends” to locate

each other. This geographic and timeline information may tend to either inculpate or exculpate

the Instagram account owner. Last, Instagram account activity may provide relevant insight into

the Instagram account owner’s state of mind as it relates to the offense under investigation. For

example, information on the Instagram account may indicate the owner’s motive and intent to

commit a crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law enforcement). 1

                   REQUEST TO SUBMIT WARRANT BY TELEPHONE
                     OR OTHER RELIABLE ELECTRONIC MEANS

        45.    I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney

Jonathan P. Hooks, an attorney for the United States, is capable of identifying my voice and

telephone number for the Court.

                                          CONCLUSION




1
  At times, social media providers such as PROVIDER can and do change the details and
functionality of the services they offer. While the information in this section is true and accurate
to the best of my knowledge and belief, I have not specifically reviewed every detail of
PROVIDER’s services in connection with submitting this application for a search warrant.
Instead, I rely upon my training and experience, and the training and experience of others, to set
forth the foregoing description for the Court.


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       46.     Based on the forgoing, I request that the Court issue the proposed search warrant.

Because the warrant will be served on PROVIDER, who will then compile the requested records

at a time convenient to it, there exists reasonable cause to permit the execution of the requested

warrant at any time in the day or night. Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.

                                                                    M1




      Subscribed and sworn telephonically pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) before
me on November 23, 2020



       HON. ROBIN M MERIWEATHER,
       UNITED STATES MAGISTRATE JUDGE




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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means



                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                              District of Columbia

              In the Matter of the Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)                                       Case No. 20-sc-3086
 INFORMATION ASSOCIATED WITH THREE ACCOUNTS )
STORED AT PREMISES CONTROLLED BY INSTAGRAM, )
LLC PURSUANT TO 18 U.S.C. 2703 FOR INVESTIGATION)
     OF VIOLATION OF 18 U.S.C. 1591 AND 1952
   APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A incorporated herein and included as part of this Application for a Search Warrant.

located in the             Northern               District of                 California                   , there is now concealed (identify the
person or describe the property to be seized):
   See Attachment B incorporated herein and included as part of the attached Affidavit.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ff evidence of a crime;

                 Iff contraband, fruits of crime, or other items illegally possessed;
                 91 property designed for use, intended for use, or used in committing a crime;
                 71 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                                   Offense Description
        18 U.S.C. §1591; 18 U.S.C.                Sex Trafficking of Children; and Interstate Aid of Racketeering Enterprises
        §1952

          The application is based on these facts:
                See Attached Affidavit in Support of Search Warrant.


               Continued on the attached sheet.
           71 Delayed notice of        days (give exact ending dam if man,              than 3n davv•                          ) is renuested under
              18 U.S.C. § 3103a, the basis of which is set ford'




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                           telephone                                (specify reliable electronic means).

                                                                                                                    Robin M. Meriweather
Date:            11/23/2020                                                                                         2020.11.23 17:10:07 -05'00'
                                                                                                           Judge's signature

City and state: Washington, DC                                                         Robin M. Meriweather U.S. Magistrate Judge
                                                                                                        Printed name and title
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                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 20-sc-3086
     INFORMATION ASSOCIATED WITH THREE ACCOUNTS STORED AT
   PREMISES CONTROLLED BY INSTAGRAM, LLC PURSUANT TO 18 U.S.C.              )
    2703 FOR INVESTIGATION OF VIOLATION OF 18 U.S.C. 1591 AND 1952          )
                                                                            )

                 �������������������������������������������������������
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search�������������
of the following person or property located in the�                        Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A incorporated herein and included as part of this Application for a Search Warrant.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      See Attachment B incorporated herein and included as part of the attached Affidavit.




        YOU ARE COMMANDED to execute this warrant on or before                December 7, 2020         (not to exceed 14 days)
      � in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               � at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Robin M. Meriweather                   .
                                                                                                  (United States Magistrate Judge)

     � Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     � for         days (not to exceed 30) � until, the facts justifying, the later specific date of                                             .

                                                                                                                   Robin M. Meriweather
Date and time issued:          11/23/2020                                                                          2020.11.23 17:10:34 -05'00'
                                                                                                          Judge’s signature

City and state:                  Washington, DC                                         Robin M. Meriweather U.S. Magistrate Judge
                                                                                                        Printed name and title
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 20-sc-3086
Inventory made in the presence of :

Inventory of the property taken and name��� of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                    ATTACHMENT A
                                  Property to Be Searched

       This warrant applies to information which is associated with the Instagram, LLC

("PROVIDER" or "Instagram") account(s) identified as

                    that is stored at premises owned, maintained, controlled, or operated by

Instagram, LLC, a company owned by Facebook, Inc., a company that accepts service of legal

process at 1601 Willow Road, Menlo Park, California.
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                                      ATTACHMENT B

                       Particular Things to be Seized and Procedures
                           to Facilitate Execution of the Warrant

   I.      Information to be disclosed by Instagram, LLC (“PROVIDER”) to facilitate
           execution of the warrant

        To the extent that the information described in Attachment A is within the possession,

custody, or control of PROVIDER, including any records that have been deleted but are still

available to PROVIDER, or have been preserved pursuant to a request made under 18 U.S.C.

§ 2703(f), PROVIDER is required to disclose the following information to the government

corresponding to each account or identifier (“Account”) listed in Attachment A:

        a. For the time period January 16, 2015 to present: The contents of any available

           messages or other communication associated with the Account (including, but not

           limited to, messages, attachments, draft messages, posts, chats, video calling history,

           “friend” requests, discussions, recordings, images, or communications of any kind sent

           to and from the Account, including stored or preserved copies thereof) and related

           transactional records for all PROVIDER services used by an Account subscriber/user,

           including the source and destination addresses and all Internet Protocol (“IP”)

           addresses associated with each message or other communication, the date and time at

           which each message or other communication was sent, and the size and length of each

           message or other communication;

        b. For the time period January 16, 2015 to present: All photos and videos uploaded,

           created, or shared by the Account (including any comments made related to such photos

           and videos) and all photos or videos uploaded in which the Account has been “tagged,”




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      including Exchangeable Image File (“EXIF”) data and any other metadata associated

      with those photos and videos;

   c. Basic subscriber records and login history, including all records or other information

      regarding the identification of the Account, to include

                i. All identity and contact information, such as full name, physical address,
                   telephone numbers, birthdate, security questions and passwords, and other
                   personal identifying information,
               ii. records of session times and durations,
             iii. the date on which the Account was created,
              iv. the length of service,
               v. types of services utilized by the Account,
              vi. the IP address used to register the Account and log-in IP addresses
                   associated with session times and dates,
             vii. account status,
            viii. alternative e-mail addresses provided during registration,
              ix. all past and current usernames associates with the account,
               x. methods of connecting,
              xi. log files,
             xii. means and source of payment (including any credit or bank account
                   number), and
            xiii. any account(s) linked by cookies;

   d. For the time period January 16, 2015 to present: All records or other information

      related to the Account, including address books, contact information and any “friend,”

      “follower,” and/or “following” lists; calendar data and files; profile information;

      groups and networks of which the Account is a member; future and past event postings;

      rejected “friend” requests and blocked users; status updates (including relationship

      status updates); comments; gifts; “pokes”; “tags”; the account’s usage of the “like”

      feature, including all posts and any webpages and content that the user has “liked”;

      searches performed by the Account; and privacy settings;

   e. For the time period January 16, 2015 to present: All location information associated

      with the account and/or any content posted therein, including geotags;



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   f. For the time period January 16, 2015 to present: All records pertaining to

        communications between PROVIDER and any person regarding the Account,

        including contacts with support services and records of actions taken;

   g. All records pertaining to devices associated with the Account and software used to

        create and access the Account, including device serial numbers, instrument numbers,

        model types/numbers, International Mobile Equipment Identities (“IMEI”), Mobile

        Equipment Identifiers (“MEID”), Global Unique Identifiers (“GUID”), Electronic

        Serial Numbers (“ESN”), Android Device IDs, phone numbers, Media Access Control

        (“MAC”) addresses, operating system information, browser information, mobile

        network information, information regarding cookies and similar technologies, and any

        other unique identifiers that would assist in identifying any such device(s), including

        unique application numbers and push notification tokens associated with the Account;

   h. All information held by PROVIDER related to the location and location history of

        the user(s) of the Account, including geographic locations associated with the

        Account (including those collected for non-PROVIDER based applications), IP

        addresses, Global Positioning System (“GPS”) information, and information pertaining

        to nearby devices, Wi-Fi access points, and cell towers; and

   i.   Information about any complaint, alert, or other indication of malware, fraud, or terms

        of service violation related to the Account or associated user(s), including any

        memoranda, correspondence, investigation files, or records of meetings or discussions

        about the Account or associated user(s) (but not including confidential communications

        with legal counsel).




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       Within 14 days of the issuance of this warrant, PROVIDER shall deliver the information

set forth above via United States mail, courier, or e-mail to the following:




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   II.      Information to be seized by the government

         All information described above in Section I that constitutes fruits, contraband, evidence

and instrumentalities of violations of 18 U.S.C. 1591 and 1952 as described in the affidavit

submitted in support of this Warrant, including, for each Account, information pertaining to the

following matters:

            (a) Information that constitutes evidence of the identification or location of the user(s)

                of the Account;

            (b) Information that constitutes evidence concerning persons who either (i)

                collaborated, conspired, or assisted (knowingly or unknowingly) the commission

                of the criminal activity under investigation; or (ii) communicated with the Account

                about matters relating to the criminal activity under investigation, including records

                that help reveal their whereabouts;

            (c) Information that constitutes evidence indicating the Account user’s state of mind,

                e.g., intent, absence of mistake, or evidence indicating preparation or planning,

                related to the criminal activity under investigation;

            (d) Information that constitutes evidence concerning how and when the Account was

                accessed or used, to determine the geographic and chronological context of account

                access, use, and events relating to the crime under investigation and to the Account

                user;

            (e) Information that constitutes evidence concerning the travel in interstate and uses a

                facility in interstate commerce, with the intent to distribute the proceeds of

                prostitution enterprise and the promotion, management, establishment, and

                carrying on of prostitution enterprise and sex trafficking of children.



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       (f) Information that constitutes evidence concerning the posting of videos, pictures,

          and comments with the intent to promote, manage, establish, carry on of a

          prostitution enterprise and sex trafficking of children.

       (g) Information that constitutes evidence concerning the direct messages, to include

          videos and pictures, between identified and unidentified targets with the intent to

          promote, manage, establish, and carry on of a prostitution enterprise and sex

          trafficking of children.




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   III.      Government procedures for warrant execution

          The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

          Law enforcement personnel will then seal any information from the PROVIDER that does

not fall within the scope of Section II and will not further review the information absent an order

of the Court. Such sealed information may include retaining a digital copy of all information

received pursuant to the warrant to be used for authentication at trial, as needed.




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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by _________________________________
(“PROVIDER”), and my title is ____________________________________________________.
I am a custodian of records for PROVIDER, and I am qualified to authenticate the records attached
hereto because I am familiar with how the records were created, managed, stored, and retrieved. I
state that the records attached hereto are true duplicates of the original records in the custody of
PROVIDER. The attached records consist of:

        ________________________________________________________________________
        [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]

        I further state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of PROVIDER, and they were made by PROVIDER as a regular practice; and

      b.      such records were generated by PROVIDER’s electronic process or system that
produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of PROVIDER in a manner to ensure that they are true duplicates of the
original records; and

                2.     the process or system is regularly verified by PROVIDER, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                 Signature
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
THREE ACCOUNTS STORED AT             SC. No. 20-sc-3086
PREMISES CONTROLLED BY
INSTAGRAM, LLC PURSUANT TO 18        Filed Under Seal
U.S.C. 2703 FOR INVESTIGATION OF
VIOLATION OF 18 U.S.C. 1591 AND 1952

Reference:     USAO Ref. #               ; Subject Account(s):



                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

                                                                        being first duly sworn,

hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for

information which is associated with three account[s] — that is,

                                          (the "Target Accounts") — which is stored at premises

controlled by Instagram, LLC ("PROVIDER" or "Instagram"), a social networking company and

an electronic communications services provider and/or remote computing services provider owned

by Facebook, Inc. and which is headquartered at/ which accepts service at 1601 Willow Road

Menlo Park, California, 94025. The information to be searched is described in the following

paragraphs and in Attachment A. This affidavit is made in support of an application for a search

warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require PROVIDER to

disclose to the government copies of the information (including the content of communications)

further described in Section I of Attachment B. Upon receipt of the information described in
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Section I of Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B, using the procedures described in Section III of

Attachment B.




       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       4.       Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S. Code § 1591

(Sex Trafficking of Children) and 1952 (Interstate Aid of Racketeering Enterprises), among others,

have been committed by                                        AND     OTHER UNIDENTIFIED

INDIVIDUALS. There is also probable cause to search the information described in Attachment

A for evidence, instrumentalities, contraband, or fruits of these crimes further described in

Attachment B.



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                                           JURISDICTION

        5.      This Court has jurisdiction to issue the requested warrant because it is a "court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is "a district court of the United States . . . that — has jurisdiction

over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

DC. See 18 U.S.C. § 3237.

                                        PROBABLE CAUSE




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                              was provided an address of                    In a search for the

                                      located was in the

D.C. Surveillance was conducted and found that

-was

         appeared to provide access to              was that located

       14.     On May 26, 2020, the Metropolitan Police Department of the District of

          had executed a search for                                                     in

reference to                     In review of the photographs and body-worn camera footage of


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the search warrant, it appeared to match the location

             Areas that appear to match are as follows:




       15.     On August 1, 2020, at approximately 0000 hours, members of the FBI Child

Exploitation and Human Trafficking Task Force conducted




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       •       On                   a search warrant for

                    was issued by Superior Court for the District of Columbia. On

                                     the search warrant for

                    was executed by FBI Washington Field Office SWAT, MPD/FBI Child

Exploitation and Human Trafficking Task Force. The inside of the premises matched the location




       19.                  was located inside the premises and was interviewed.

stated that he has "birthday parties" at the location but denied he was continually promoting



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                                           denied that there was "V.I.P." and that anyone engaged

in commercial sex acts at the location.                denied that he had social media accounts,

even when presented with the Instagram account                                            ended the

interview and was free to leave.

         20. In the header of                                           it lists

                                    and a link to the Instagram accoun                      Instagram

accoun                    as a listed header of                                                   and

both accounts has the same "="         logo. Instagram account                     has many of the same

posted images and videos as Instagram accoun                             along with numerous

pictures of             . The Instagram accounts.                 and                        both posted

numerous                                          under the tag                               Listed in

these advertisements is a link to the Instagram accoun                             For example, on

September 26, 2020, Instagram account                      posted an advertisement for

with                                                The advertisement had the listed message,




         21.    The Instagram account                          has a listed header of 'MEM

                       The Instagram account                         has numerous posts containing

advertisements for '                       and




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       22.     On June 24, 2020, PROVIDER was served with a preservation letter under 18

U.S.C. § 2703(f) related to                     and                 On June 29, 2020, PROVIDER

was served with a preservation letter under 18 U.S.C. § 2703(f) related to

               BACKGROUND CONCERNING PROVIDER'S ACCOUNTS

       23.     PROVIDER (that is, Instagram) is the provider of the internet-based Target

Accounts identified above.

       24.     From a review of publicly available information provided by Instagram about its

service, including Instagram's "Privacy Policy," discussions with other members of law

enforcement, and in my training and experience, I am aware of the following about Instagram and

about the information collected and retained by Instagram.

       25.     Instagram owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.instagram.com. Instagram allows its users to create their

own profile pages, which can include a short biography, a photo of themselves, and other

information. Users can access Instagram through the Instagram website or by using a special

electronic application ("app") created by the company that allows users to access the service

through a mobile device.

       26.     Instagram permits users to post photos to their profiles on Instagram and otherwise

share photos with others on Instagram, as well as certain other social-media services, including

Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user can add to

the photo: a caption; various "tags" that can be used to search for the photo (e.g., a user made add

the tag #vw so that people interested in Volkswagen vehicles can search for and fmd the photo);

location information; and other information. A user can also apply a variety of "filters" or other

visual effects that modify the look of the posted photos. In addition, Instagram allows users to



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make comments on posted photos, including photos that the user posts or photos posted by other

users of Instagram. Users can also “like” photos.

       27.     Upon creating an Instagram account, an Instagram user must create a unique

Instagram username and an account password. This information is collected and maintained by

Instagram.

       28.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user’s full name, e-mail addresses, and phone numbers, as well

as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information. However, Instagram does not verify

the information provided.

       29.     Instagram allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Instagram may

come from either contact lists maintained by the user, other third-party social media websites and

information, or searches conducted by the user on Instagram profiles. Instagram collects and

maintains this information.

       30.     Instagram also allows users to “follow” another user, which means that they receive

updates about posts made by the other user. Users may also “unfollow” users, that is, stop

following them or block the, which prevents the blocked user from following that user.

       31.     Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.



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        32.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user’s feed, search

history, or profile.

        33.     Users on Instagram may also search Instagram for other users or particular types of

photos or other content.

        34.     For each user, Instagram also collects and retains information, called “log file”

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram’s servers automatically record is

the particular web requests, any Internet Protocol (“IP”) address associated with the request, type

of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and times

of access, and other information.

        35.     Instagram also collects and maintains “cookies,” which are small text files

containing a string of numbers that are placed on a user’s computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example, Instagram

uses cookies to help users navigate between pages efficiently, to remember preferences, and to

ensure advertisements are relevant to a user’s interests.

        36.     Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record “device identifiers,” which includes data files and

other information that may identify the particular electronic device that was used to access

Instagram.

        37.     Instagram also collects other data associated with user content. For example,

Instagram collects any “hashtags” associated with user content (i.e., keywords used), “geotags”




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that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

       38.     Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

       39.     Subscribers to Instagram may access their accounts on servers maintained and/or

owned by Instagram from any computer connected to the Internet located anywhere in the world.

       40.     Instagram maintains electronic records pertaining to the individuals and companies

for which it maintains subscriber accounts. These records include account access information, e-

mail transaction information, and account application information. Any message that is sent to

Instagram subscribers is stored in the subscriber’s “mail box” on Instagram servers until the

subscriber deletes the message or the subscriber’s mailbox exceeds the storage limits preset by

Instagram. If the message is not deleted by the subscriber, the account is below the maximum

limit, and the subscriber accesses the account periodically, that message can remain on Instagram

servers indefinitely.

       41.     When the subscriber sends a message, it is initiated at the user’s computer,

transferred via the Internet to Instagram’s servers, and then transmitted to its end destination.

Instagram users have the option of saving a copy of the message sent. Unless the sender of the e-

mail specifically deletes the message from the Instagram server, the e-mail can remain on the

system indefinitely. The sender can delete the stored message, thereby eliminating it from the e-

mail box maintained at Instagram, but that message will remain in the recipient’s message box

unless the recipient deletes it as well or unless the recipient’s account is subject to account size

limitations.




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       42.     An Instagram subscriber can store files, including e-mails and image files, on

servers maintained and/or owned by Instagram. E-mails and image files stored on an Instagram

server by a subscriber may not necessarily be located in the subscriber’s home computer. The

subscriber may store messages and/or other files on the Instagram server for which there is

insufficient storage space in the subscriber’s computer and/or which he/she does not wish to

maintain in the computer in his/her residence. A search of the files in the computer in the

subscriber’s residence will not necessarily uncover the files that the subscriber has stored on the

Instagram server.

       43.     As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, an

Instagram user’s account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This “user

attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date.

       44.     By determining the physical location associated with the logged IP addresses,

investigators can understand the chronological and geographic context of the account access and



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use relating to the crime under investigation. Such information allows investigators to understand

the geographic and chronological context of Instagram access, use, and events relating to the crime

under investigation. Additionally, Instagram builds geo-location into some of its services. Geo-

location allows, for example, users to “tag” their location in posts and Instagram “friends” to locate

each other. This geographic and timeline information may tend to either inculpate or exculpate

the Instagram account owner. Last, Instagram account activity may provide relevant insight into

the Instagram account owner’s state of mind as it relates to the offense under investigation. For

example, information on the Instagram account may indicate the owner’s motive and intent to

commit a crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law enforcement). 1

                   REQUEST TO SUBMIT WARRANT BY TELEPHONE
                     OR OTHER RELIABLE ELECTRONIC MEANS

        45.    I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney

Jonathan P. Hooks, an attorney for the United States, is capable of identifying my voice and

telephone number for the Court.

                                          CONCLUSION




1
  At times, social media providers such as PROVIDER can and do change the details and
functionality of the services they offer. While the information in this section is true and accurate
to the best of my knowledge and belief, I have not specifically reviewed every detail of
PROVIDER’s services in connection with submitting this application for a search warrant.
Instead, I rely upon my training and experience, and the training and experience of others, to set
forth the foregoing description for the Court.


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       46.     Based on the forgoing, I request that the Court issue the proposed search warrant.

Because the warrant will be served on PROVIDER, who will then compile the requested records

at a time convenient to it, there exists reasonable cause to permit the execution of the requested

warrant at any time in the day or night. Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.




      Subscribed and sworn telephonically pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) before
me on November 23, 2020
                                            Robin M. Meriweather
                                            2020.11.23 17:11:06 -05'00'
       HON. ROBIN M MERIWEATHER,
       UNITED STATES MAGISTRATE JUDGE




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